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Raymond N. Nimrod                                Arnold B. Calmann
Isaac Nesser                                     Katherine A. Escanlar
Nicola R. Felice                                 SAIBER LLC
QUINN EMANUEL URQUHART                           One Gateway Center, 9th Floor
  & SULLIVAN, LLP                                Newark, NJ 07102-5308
51 Madison Avenue, 22nd Floor                    (973) 622-3333
New York, NY 10010                               abc@saiber.com
(212) 849-7000                                   kescanlar@saiber.com
raynimrod@quinnemanuel.com
isaacnesser@quinnemanuel.com                     Attorneys for Plaintiffs Arbutus Biopharma
nicolafelice@quinnemanuel.com                    Corp. & Genevant Sciences GmbH

John Yang                                        Daralyn J. Durie
QUINN EMANUEL URQUHART                           Adam R. Brausa
  & SULLIVAN, LLP                                MORRISON & FOERSTER LLP
3100 McKinnon St., Suite 1125                    425 Market Street
Dallas, TX 75201                                 San Francisco, CA 94105-2482
(469) 902-3600                                   (415) 268-7000
johnyang@quinnemanuel.com                        ddurie@mofo.com
                                                 abrausa@mofo.com

Attorneys for Plaintiff Genevant Sciences GmbH   Kira A. Davis
                                                 MORRISON & FOERSTER LLP
                                                 707 Wilshire Boulevard
                                                 Los Angeles, CA, 90017-3543
                                                 (213) 892-5200
                                                 kiradavis@mofo.com

                                                 Attorneys for Plaintiff Arbutus Biopharma
                                                 Corp.

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 ARBUTUS BIOPHARMA CORP. and                        Civil Action No. 23-01876-ZNQ-TJB
 GENEVANT SCIENCES GMBH,
                      Plaintiffs,
                                                    CERTIFICATE OF SERVICE
        v.
 PFIZER INC. and BIONTECH SE,                       Document Filed Electronically
                      Defendants.



        ARNOLD B. CALMANN, ESQ., hereby certifies as follows:
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                       1.      I am an attorney-at-law of the State of New Jersey and admitted to

 practice before the Courts of the State of New Jersey and the United States District Court for the

 District of New Jersey.

                       2.      I hereby certify that on the 14th day of August, 2023, I caused a

 copy of Plaintiffs’ Answer to Defendants’ Counterclaims and this Certificate of Service to be

 served upon counsel of record by CM/ECF and electronic mail.

                                                 s/ Arnold B. Calmann
                                                 Arnold B. Calmann




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